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AUBRY ODOM,
Plaintiff,

vs. Civ. No. 05-2258-Ma[P

TONY COOPER, et al.,

Defendants.

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SCHEDULING ORDER

 

Pursuant to written notice, a scheduling conference was set
for August 4, 2005. Prior to the conference, Plaintiff, Aubry Odom,
and Defendants, Correctional Medical Services (“CMS”), Tony Cooper,
Shelby'County, Mayor Warton, Sheriff’s Department, Sheriff Luttrell
and James Coleman, by and through their respective counsel, submit
the following case management plan:

INITIAL DISCLOSURES PURSUANT TO Fed.R.Civ.P. 26(a)(1):
August 18, 2005

JoINING PARTIES= october 3, 2005

AMENDING PLEADINGS= october 3, 2005

INITIAL MoTIoNs To DJ:sMIss= N¢u¢nbw 5,1;)05'@
coMPLETING ALL DIscovERY= April 3, 2006

(a) DOCUMENT PRODUCTION: April 3, 2006

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(b) DEPOSITIONS, INTERROGATORIES AND REQUESTS FOR
ADMISSIONS: April 3, 2006

(C) EXPERT WITNESS DISCLOSURE (Rule 26):

(l) DISCLOSURE OF PLAINTIFF'S RULE 26 EXPERT
INFORMATION: April 3, 2006

(2) DISCLOSURE OF DEFENDANT'S RULE 26 EXPERT
INFORMATION: May 15, 2006

(3) EXPERT WITNESS DEPOSITIONS: June 15, 2006
FILING DISPOSITIVE MOTIONS: July 15, 2006
OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery
cutoff date. All motions, requests for admissions, or other
filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to
respond by the time permitted by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the
discovery deadline or within 30 days of the default or the service
of the response, answer, or objection, which is the subject of the
motion, if the default occurs within 30 days of the discovery
deadline, unless the time for filing of such motion is extended for
good cause shown, or the objection. to the default, response,
answer, or objection shall be Waived.

This case is set for jury trial, and the trial is expected to
last seven (7) days. The pretrial order date, pretrial conference
date, and trial date Will be set by the presiding judge.

The parties are amenable to settlement negotiations. At the
present, the parties do not anticipate the need for a settlement
conference. However, in the event a conference becomes necessary
either party may request a settlement conference.

The parties are reminded that pursuant to Local Rule
ll(a)(l)(A), all motions, except motions pursuant to Fed. R. Civ.
P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

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The opposing party may file a response to any motion filed in
this matter. Neither party may file an additional reply, however,
without leave of the court. If a party believes that a reply is
necessary, it shall file a motion for leave to file a reply
accompanied by a memorandum setting forth the reasons for which a
reply is required.

The parties have not consented to trial before the magistrate
judge.

This order has been entered after consultation with trial
Counsel pursuant to notice. Absent good cause shown, the
scheduling dates set by this order will not be modified or

extended.

TU M. PHAM
United States Magistrate Judge

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IT IS SO ORDERED.

Date

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 2:05-CV-02258 Was distributed by faX, mail, or direct printing on
August 4, 2005 to the parties listed.

ESSEE

 

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Honorable Samuel Mays
US DISTRICT COURT

